           Case 3:10-cr-03510-BTM                                  Document 118             Filed 06/15/11              PageID.364             Page 1 of 4


    ""'A0245B      (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 1
                                                                                                                                            FILED
                                                                                                                                            JUN 15 2011
                                                             UNITED STATES DISTRICT COURT
                                                                                                                                   CLERK, U.S. DISTRICT
                                                               SOUTHERN DISTRICT OF CALIFORNIA                                  SOUTHERN DISTRJP.~~
                                                                                                                                BY
                                    i
                    UNITED STATES,OF AMERICA                                             AMENDEDJUDGMENTjIN~A~CFm~~~~~~~
                                                    v.                                   (For Offenses Committed On or After November I, 1987)

                  ALONSO TAtAREa-ALVAREZ [5]                                             Case Number: IOCR351O-005-BTM
                                                                                         JAMI FERRARA
                                                                                         Defendant's At:orney
    REGISTRATION NO. 21715298
    181 Correction of Sentencei,for Clerical Mistake (Fed. R. Crim. P.36)
                                        I                '
    THE DEFENDANT:              I

    181 pleaded guilty to count~s) 1 AlND 2 OF THE SUPERSEDING INFORMATION

    o     was found guil~y on count(s)_'_'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guiltY.
          Accordingly, the defendant is !ildjudged guilty of such count(s), which involve the following offense(s):
                                    I                                                                                                           Count
    Title & Section                                      N'ature of Offense                                                                    Number(sl
18 USC 1951(a)                              I   CONSPIRACY TO COMMIT ROBBERY AFFECTING INSTERSTATE                                                   Is
                                                COMMERCE
18 USC 924(c)(I)(A)(ii);                    ; POSIts SING A FIREARM IN FUTHERANCE OF A CRIME OF VIOLENCE;                                             2s
28 USC 2461(c)                              I   CRIMINAL FORFEITURE




        The defendant is sentence~ as prov,ided in pages 2 through _ _4=--_ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act 0[1984.
 o The defendant has been found rtot guilty on count(s) ---------------------------------------------
 181 Count(s) The underlying Indicdnent                                                   is [8]     are   0 dismissed on the motion of the United States.
 [8] Assessment:$200.00 ($100 per bunt) at the rate of $25.00 per quarter through the Inmate Financial Responsibility Program.
                                                !




 [8] Fine waived                                               0 Forfeiture pursuant to order filed                                  , included herein.
       IT IS ORDERED that the deftjDdant Spall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and tnited States attorney of any material change in the defendant's economic circumstances.

                                                                                     MAY 20, 2011




                                                                                                           TED MOSKOWITZ
                                                                                     UNITED STATES DISTRICT JUDGE

                                                                                                                                             10CR3510-005-BTM
      Case 3:10-cr-03510-BTM                        Document 118          Filed 06/15/11       PageID.365           Page 2 of 4


AO 245B     (Rev. 9/00) JUdgment'in Criminal Case
            Sheet 2 - lmprisonn;rnt

                                                                                             Judgment - Page _ _2 _ of   _~4_ _
 DEFENDANT: i}LONSO TAVAREZ-ALVAREZ [5]
 CASE NUMBERj: 10CItiSlO-OOS-BTM
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          THIRTY-lIHREE (33) MONTHS AS TO COUNT 1; SIXTY (60) MONTHS AS TO COUNT 2, CONSECUTIVE TO
          COUNT 1 fOR A IroTAL OF NINETY-THREE (93) MONTHS.



                                                                                           ~~
                       I
                       I

    o Sentence i~posed ~ursuant to Title 8 USC Section 1326(b).                            BARRY T D MOSKOWITZ
    o The court makes thelfollowjng recommendations to the Bureau of Prisons:              UNITED STATES DISTRICT JUDGE




    o The defend~nt is retnand~d to the custody of the United States Marshal.
                                 I

    o The defendant shall surrender to the United States Marshal for this district:
                                  I
            Oat                   i                 Oa.m.    Op·m.       on
                as notified by ~he Ullited States Marshal.

    o The defendant shaH surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o -----~I--------------------------------------------------­
           o    as notified by the Un*d States Marshal.
                                      i
           o as notified by t~e Pro~ation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgm,ent as;'follows:
                           I
          Defendant delivered onl                                               to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By _ _ _ _ _~~~~~~~~~~-----
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                               1OCR351 0-005-BTM
          Case 3:10-cr-03510-BTM                          Document 118          Filed 06/15/11            PageID.366             Page 3 of 4


AO 245D       (Rev. 311 0) Judgmerit in a Criminal Case for Revocations
              Sheet 3 - SuperviseP Rele~
                                                                                                            Judgment-Page   ~           of _ _4:......._ _
DEFENDANT: ALONSO:TA VAREZ-ALVAREZ [5]
CASE NUMBER: ;10CR3fl0-0~-BTM
                                                              SUPERVISED RELEASE
Upon release from i~prisonJent, t~e defendant shall be on supervised release fo), a term of:
THREE (3) YEARS l<\s TO COUNT 1; FIVE (5) YEARS AS TO COUNT 2, CONCURRENT TO COUNT 1 FOR A TOTAL OF FIVE
(5) YEARS.                 i'

         The defend~nt shall report 'to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnson$.
                             I      .,
The defendant shall rjot commit ano~her federal, state or local crime.
For offenses committed on o~ after $eptember 13, 1994:
The defendant shall not illeg~lly po~,sess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant sh~ll sUl;lthit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by tile cour~. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unles~ otherwise ordered by court.                                           -­

o       The above drug testing qonditi¢n is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. [(Check, if applicable.)
                                    I
        The defendant shall not ~osses~ a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall coope~ate in tfe collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backing Elimination Act of 2000, ,Pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall regi~ter wilh the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directeli by tlie probation officer. (Check, if applicable.)

o       The defendant shall participate In an approved program for domestic violence. (Check, if applicable.)
          If this judgment impqses a !line or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unp~id at "Fe commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.         I      '
         The defendant must cpmply\w. ith the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions impose~.

                                                    STANDARD CONDITIONS OF SUPERVISION

  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
                                        I            ..
  2)      the defendant shall report to tbe probation officer and shall submit a truthful and complete written report within the first five days of
          each month;             ,
                                        I
  3)      the defendant shall ans~er truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his.or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notitly the pTobation officer at least ten days prior to any c:hange in residence or employment;
                                            I
  7)      the defendant shall refra,rin froJ1l excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or .ny paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not ttequeni~ places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not .socia~e with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permis'~ion to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in ,lain view of the probation officer;
 11 )     the defendant shall notify the prbbation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
                                                I
 12)      the defendant shall not ejIlter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; Imd
 13)      as directed by th~ probatibn officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or persoqal histo~y or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with su.th notification requirement.
                                    \                                                                                         lOCR3S10-00S-BTM
              Case 3:10-cr-03510-BTM                               Document 118   Filed 06/15/11           PageID.367           Page 4 of 4


         AO 245B     (Rev. 9100) Judgmlent in a C:riminal Case
                     Sheet 4 - Special ,Conditiqps
                                                                                                           Judgment-Page _ _4_ of _....:..4_ _
         DEFENDANT: ALONSP TA V, AREZ-AL V AREZ [5]
         CASE NUMBER: lOC~SlO~OOS-BTM




                                                          SPECIAL CONDITIONS OF SUPERVISION
                                        I

o reasonable
  Submit person, residence, office or                    ~ehicle
                                           to a search, conducted by a United States Probation Officer at a reasonable time and in a
             manner, based updn reaspnable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounqs for retocatlon; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.              !


o
o Not transport, harbor, or assist undocumented aliens.
o                                           I             '
      Not associate with undocumelilted aliens or alien smugglers.
181   Not reenter the United States ijlegally.
o     Not enter the Republic ofMe~ico without written permission of the Court or probation officer.
o Report all vehicles owned or ~erate~, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug lor controlled substance without a lawful medical prescription.
o     Not associate with known use~ of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o     Participate in a program of mehtal he!ilth treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
      report and available psycholo~cal e~luations to the mental health provider, as approved by the probation officer. The defendant shall
      consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.
                                      I

o     Take no medication containin~ a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.                     I



o Provide complete disclosure ofperso~al and business financial records to the probation officer as requested.
                                                I




o     Be prohibited from opening ch~ckingiaccounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.           I

o     Seek and maintain full time employm~nt and/or schooling or a combination of both.
o     Resolve all outstanding warrants within                      days.
o     Complete           hours of community service in a program approved by the probation officer within
o     Reside in a Residential Reentry',Center
                                      I     '
                                              (RRC) as directed by the probation officer for a period of
o counseling
  Participate in a program of drug or alcphol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8
                                                    ~s
              sessions per month direqted by the probation officer.

181 If deported, excluded, or allow~ to vdluntarily leave the United States, obey all laws federal, state and local and not reenter the United
      States illegally and report to theiprobation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
      suspended while the defendant ill out Q(the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                  lOCR3S10-00S-BTM
